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         IN THE UNITED STATES DISTRICT COURT FOR THE
     SOUTHERN DISTRICT OF ILLINOIS, EAST ST. LOUIS DIVISION

 DEMETRIUS ROSS; JONATHAN                        )
 TOLLIVER; KEVIN HAMILTON; GLEN                  )
 VERSER; ZACHARY WATTS; JAMES                    )
 DUNMORE; AND RONALD SMITH, on                   )
 behalf of themselves and all others similarly   )
 situated,                                       )   Case No. No. 15 C 0309
                                                 )
              Plaintiffs,                        )   Judge Staci M. Yandle
                                                 )
              v.                                 )   Magistrate Judge Stephen C.
                                                 )   Williams
 GREG GOSSETT; ROBERT ADAMS;                     )
 RACHELLE AIKEN; STEVE ALBRECHT;                 )   JURY TRIAL DEMANDED
 RICHARD ALLEN; ASHLEY ALVEY;                    )
 JEREMY ALWERDT; NATHAN                          )
 ANDERSON; PAT ANDERSON; KHOREY                  )
 ANDERTON; BRENDAN ANKROM;                       )
 CHARLES ANTRY; ROBERT ARNETT;                   )
 SARAH ARNETT; MICHAEL ATCHISON;                 )
 BRADLEY AUSBROOK; MIKE AUSTIN;                  )
 BRIAN BAILEY; BRYAN BAILEY; GENE                )
 BAILEY; RYAN BAILEY; SHAWN                      )
 BAILLIEZ (AKA BALLIEZ); CHRIS                   )
 BARBER; MIKE BAUGHMAN; STEPHEN                  )
 BAYER; DUSTIN BAYLER; DEREK                     )
 BAYLON; RANDY BAYLOR; STEPHANIE                 )
 BEASLEY; CHAD BELCHER; JAMES                    )
 BERRY; NATHAN BERRY; PAUL                       )
 BLACWELL (AKA BLACKWELL); ROBERT                )
 BLACKWELL; DAVID BOGART; JIMMY                  )
 BONNER; ANDREW (“ANDY”) BOTTRELL;               )
 TIM BOWEN; MARK BOWER; MIKE                     )
 BOWERS; LARRY BOYD; STEPHEN                     )
 BOYLE; HUBERT BRACE; CHRISTOPHER                )
 BRANT; SCOTT BRITTON; DAVID BROCK;              )
 KYLE BROOKS; BUD BROWN; DOUGLAS                 )
 BROWN; KENNY (“KENNETH”) BROWN;                 )
 DAVID BROWNING; CHRIS BRUBAKER;                 )
 JAMES BRUCE; DENNIS BUCCO;                      )
 ZACHARIAH BUCHANAN; ZACHARY                     )
 BUCHENAU; JEFF BUNDREN; JOHN                    )
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 BURROW; JON BURROW; JONAH          )
 BUTLER; KIM BUTLER; CHRISTOPHER    )
 CALES; AARON CAMPBELL; MATT        )
 CANNON; JANET CARLE; CHASE         )
 CARON; BILL CARROLL; FREDRICK      )
 (“FRED”) CARTER; JARROD CARTER;    )
 KEVIN CARTWRIGHT; DERRICK          )
 CAUDLE; MIKE CHEKEVIDA; JOHN       )
 CHENAULT JR.; TOD CHILDERS;        )
 TREVOR CHITWOOD; JAMES CISSELL;    )
 BRADLEY CLARK; MIKE CLARK; ETHAN )
 CLARY; VINCENT COGDAL; CHARLES     )
 COMPTON; NICK CONKLIN; STEVEN      )
 CONRAD; TIMOTHY CONRAD; ADRIAN     )
 CORLEY; DAWAYNE COTTON; NATHAN     )
 COURTRIGHT; ANGELA CRADDOCK; JOE )
 CURRY; JOSH CURRY; JASON DAMS;     )
 BENNY (“BENN”) DAVIS; RANDY DAVIS; )
 RYAN DAVIS; TROY DAVIS; ELLIOT     )
 DAYMON; MICHAEL DEAN; MATT DEES )
 (AKA DESS); RENE DEGROOF; DREW     )
 DERENZY; ROD DIAL; DWIGHT DILG;    )
 MICAH DILLON; SAMUEL DILLON;       )
 JUSTIN DIRCKS; VINCE DIVELEY;      )
 SAMUEL DIXON; KYLE DONJON;         )
 ROBERT DORETHY (AKA DORETY); WES )
 DOTHAGER; TERRY DOUGLAS; BRIAN     )
 DOWDY; JERRY DRONENBERG; BRAD      )
 DUCKWORTH; RYAN DUMSTROFF (AKA )
 DUMSTORFF); STEPHEN DUNCAN; MICA )
 DUNN; MIKE DUNNING; DWAYNE         )
 DURHAM; DANIEL DUST; BRYAN         )
 EASTON; SCOTT EBERS; JUSTIN        )
 ECKELBERRY; OLIN ELDRIDGE; LISA    )
 ELLINGER; BLAKE ELLIOT; JUSTIN     )
 ENGELAGE; WESLEY ENGELAGE;         )
 DAVID ENGLISH; FRANK EOVALDI;      )
 STEVEN ESTES; TIM FEURER; KENETH )
 (“KENNETH”) FINNEY; PAUL FLETCHER; )
 M. FLUDER; CHRIS FORBES; JOSEPH    )
 FRANCE; ANTON FRAZIER; CHARLES     )
 FRICKE; WES FUCHS; CORY FUQUA;     )
 JASON FURLOW; ANDREW GANGLOFF;     )
 DOUGLAS GELLNER; PETE GEPPERT;     )

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 MICHAEL GILREATH; JASON GINDER;   )
 EDWIN GLADNEY; MAURY GOBLE;       )
 JAMES GOSNELL; JAMES GOSNELL;     )
 JAMES GRAY; JOHN GREEN; SHANE     )
 GREGSON; BRIAN GUETERSLOH;        )
 CHARLES HAHN; AKEEM HAMILTON;     )
 JUSTIN HAMMERS; JARED HANKINDS;   )
 MARK HANKS; DUSTIN HARMON; JERRY )
 HARPER; NOBLE HARRINGTON; JACOB )
 HARRIS; JAKE HARRIS; KENDALL      )
 HARRIS; RICHARD HARRIS; BENJAMIN  )
 HAYNES; TRACY HEIMAN; AYLA        )
 (“ALYA”) HEINZMANN; MARK          )
 HEINZMANN; LARRY HENDERSON;       )
 JOEL HEPP; DAVID HERMETZ; BRADLEY )
 HERZOG; DUSTIN HEWITT; KELLY      )
 HIGGINS; JEFF HILL; KEVIN HIRCH;  )
 DAVID HOLDER; TYLER HOLLAND; BILL )
 HOPKINS; SETH HOUGH; SHAYNE       )
 HOWELL; WILLIAM HUGHEY; KYLE      )
 HUGHHEY; BRANDON HUNTER; JOSEPH )
 JACKSON; M.H. JANSEN; MATTHEW H.  )
 JANSEN; CURTIS JENKINS; MARCUS    )
 JENKINS; JASON JESTER; LORETTA    )
 JOACHIM; BRAD JOHNSON; JAMES      )
 JOHNSON; JUSTIN JOHNSON; KEVIN W. )
 JOHNSON; MATT JOHNSON; ANTHONY    )
 JONES; JOHN JONES; MICHAEL JONES; )
 TYLER JONES; CHRIS KAMP; ROBERT   )
 KAMP; JOSH KAPPER; BRIAN KAULING; )
 JOSH KEENER; CLARENCE             )
 KELLERMAN; SHANNON KELLY;         )
 JEFFREY KIDD; WALTER KLING; JOHN  )
 KOCH; ERIC KOHL; DAN KORTE;       )
 DANIEL KORTE; RYAN KRAM; ERIK     )
 KRAMMER; GREG KRAUSE; PRESTON     )
 KRAUSHARR; STEVEN KRETSCHUMER; )
 BRIAN KULICH; SCOTT LAMB; MICHAEL )
 (“MIKE”) LAMINACK; NICHOLAS       )
 LAMPLEY; JASON LANE; CHRIS        )
 LEIPOLD; BEN LEWIS; JACOB LILES;  )
 DOUG LINE; ROMELLE LIPSCOMB;      )
 BRIAN LIVINGSTON; BRANDON LLOYD; )
 JAMES LLOYD; ALEXANDER LOCKHART; )

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 LESLIE LOCKWOOD; AMANDA LOHMAN;           )
 RANDY LOHMAN; NICK LOHNES; CHRIS          )
 LUKER; TODD MANKER; MEREDITH              )
 MANNING; JOHN MARAGNI; DALE               )
 MARTIN; DOUG MASON; KYLE MASSEY;          )
 ALLISON MATHIS; ANDREW MAYS;              )
 ANTHONY MCALLISTER; TIMOTHY               )
 (“TIMMY”) MCALLISTER; JEREMY              )
 MCBRIDE; RAY MCCANN; JASON                )
 MCCARTY; JULLIAN MCCARTY; RYAN            )
 MCCLELLAN; WALTER MCCORMICK;              )
 BRAD MCCUAN; JOSH MCDONALD;               )
 CARL MCFARLAND; JAY MCMILLAN;             )
 TRAVIS MCREYNOLDS; LUCAS                  )
 MENNERICH; JOSH MENSING; JASON            )
 MIGNERON; JACOB MILAM; JUSTIN             )
 MILLER; KEVIN MILLER; JOHN MOHR;          )
 ALEX MOLL; DALE MONICAL; WESLEY           )
 MONROE; DAVID MOORE; RICHARD              )
 MOORE; ZACH MOORE; CANDUCE                )
 MORRILL; JASON MORRIS; ANDREW             )
 (“ANDY”) MOSER; DAN MOYERS; DAN           )
 MULLIN; DAN MULLIN; NATHAN                )
 MUSGRAVE; BARRY MYERS; WILLIAM            )
 (“BILL”) MYERS; NICK NALLEY; MYRON        )
 NEISLER; MATT NEWBURY; RICH               )
 NIDEY; TRAVIS OCHS; ZACH OGLESBY;         )
 LAREESE OLINGER; LEE PARKER;              )
 WENDY PARKS; ROBERT PASSMORE;             )
 JEREMIAH PATTERSON; ZACH PAYNE;           )
 SAM PERADOTTA; GARY PERKINS;              )
 SCOTT PETIJEAN; ANDY PHELPS;              )
 JARED PHILLIPS; BRIAN PIPER; MATT         )
 PLUMMER; JON POCHIE; GERHARD              )
 POETTKER; KENNY PORTER; BRYAN             )
 POSEY; LARRY PROVENCE; DONALD             )
 (“DON”) PULLIAM; JACOB PYLE; TRENT        )
 RALSTON; RORY RENK; JOHN RESTOFF;         )
 KRIS REYNOLDS; STEVEN RICHARD;            )
 BRANDON RICHEY; JAMES RIGDON;             )
 ROBERT RIVETT; ABBY ROBERTS;              )
 JASON ROBINSON; KENT ROBINSON;            )
 ZACH ROECKEMAN; JEFF ROELANDT;            )
 JESSE ROSENBERGER; TREVOR                 )

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 ROWLAND; JAMES RUSSELL; CHRIS             )
 SANDERS; CHAD SAPPINGTON; ZACH            )
 SARVER; MARCUS SAWYER; STEPHEN            )
 SAWYER; STEVEN SAWYER; ASHLEY             )
 SCHAFER; ANTHONY SCOLES; MINH             )
 SCOTT; THOMAS SCOTT; ASHLEY               )
 SEARS; JARED SELBY; ANTHONY SENN;         )
 BRUCE SETTLES; CHRIS SEXTON; TODD         )
 SEXTON; TODD SHEFLER (AKA                 )
 SHEFFLER); SAMUEL SHEHORN;                )
 SAMUEL SHEHORN; ERIC SHELTON;             )
 RONNIE SHERROCK; CHRIS SHERROD;           )
 WES SHIRLEY; RON SHOULTZ; TYSON           )
 SHURTZ; CLINT SIGRIST; MITCH              )
 SIMMONS; BRUCE SISNEY; JAMIE              )
 SKAGGS; DEREK SMITH; JOHNNIE              )
 SMITH; KENNETH SMITH; RANDY               )
 SMITH; ROBERT SMITH; SHANE SMITH;         )
 TOM SMITH; QUINTON SMOTHERS;              )
 SCOTT SNIDER; NICHOLAS SROKA;             )
 JONATHON STALEY; MIKE STANART;            )
 GARY STARK; NICK STEELE; CALLY            )
 (“CALLIE”) STEIN; JESSE STEPHENS;         )
 JAMES BALDWIN; ANDY STOUT; STEVE          )
 STRICKELL; BRAD STUCK; MIKE               )
 STUFFLEBEAM; ROGER SULLIVAN; T.J.         )
 SWARTS; MIKE SWETLAND; JERRY              )
 TANNER; SIERRA TATE; SAM TAYLOR;          )
 DAVID TESKE; MARYELLEN                    )
 THOMASON; ASHLEY THOMPSON;                )
 FRANK THOMPSON; TAMMY                     )
 THOUSAND; MARTIN TOVAR; MATTHEW           )
 TRIBBLE; STEVEN TUTOKY; NICK              )
 ULERY; DENNIS URHIG; BEN                  )
 (“BENJAMIN”) VAUGHN; ANDREW VOLK;         )
 JOHN VROMAN; CAYD WALLJASPER;             )
 ROBERT WALSH; ERIC WANGLER; ERIC          )
 WARD; NATHAN WARD; LUKE WATERS;           )
 RENE WATERS; JAMES WATKINS; ERIC          )
 WEBER; ERIC WENZEL; CALEB WESLEY;         )
 AARON WESTERMAN; CHRIS WHITE;             )
 JOHN WHITLOW; TONY WHITTEN;               )
 STEVE WILCOXEN; TREVOR                    )
 WILKINSON; FRED WILLIAMS; DALLAS          )

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 WILLIS; BRICE WILSON; TIM WINANS;         )
 MATTHEW WINKA; TROY WINKER;               )
 TROY WINKLER; CARSON WINTER (AKA          )
 WINTERS); LANCE WISE; JERRY               )
 WITTHOFT; CODY WITTINGHILL; JON           )
 WOLFE; TIM WORKER; SCOTT                  )
 WORKMAN; BRAD YONAKA; DUSTIN              )
 YORK; JOSEPH YURKOVICH; CALEB             )
 ZANG; RYAN ZIEGLER; WILLIAM               )
 ZIMMERMAN; JASON ZOLLARS; JASON           )
 ZURLIENE; S.A. GODINEZ; DONALD            )
 GAETZ; WILLIAM REES; DAVID                )
 CHILDERS; JAMES BEST; ROBERT              )
 HUGHES; GEORGE HOLTON; TERRY              )
 CLEMENTS; KENT BROOKMAN; JOHN             )
 TOURVILLE; RICHARD MOORE; BRIAN           )
 THOMAS; DOUGLAS LYERLA; JAY               )
 ZIEGLER; KEVIN REICHERT; CHAD             )
 HASEMEYER; KEVIN PAGE; BEAU               )
 PURTLE; PATRICK TROKEY; JEFFREY           )
 MARNATI; RAYMOND ALLEN; JAMES             )
 POWELL; BILL WESTFALL; JOHN MICH;         )
 ROGER WALLER; JOHN HOFFMAN;               )
 RAYMOND GROVES; DAVID EVELSIZER;          )
 SEAN SMOLAK; MICHAEL SAMUEL;              )
 GEORGE WELBORN; CHRISTOPHER               )
 BRADLEY; TONY PAYNE, JR.; MICHAEL         )
 MONJE; TRACY LEE; JOHN CARTER;            )
 ALEXANDER JONES; RICHARD                  )
 HARRINGTON; DANIEL MONTI; LOUIS           )
 BROWDER; VENTURES JACKSON;                )
 DENISE MINOR; JACOB NULL; DANIEL          )
 SULLIVAN; JACK TOWNELY; HAROLD            )
 SCHULER; JEFFREY JULIUS; RICHARD          )
 LYNCH; MICHAEL GRISHAM; MICHAEL           )
 DURBIN; DENNIS FOLLOWELL; DANNY           )
 BRITTON; GEORGE DAVIS; KEVIN              )
 CHAMNESS; CHARLES HAYDEN; JAMES           )
 STUDER; ROBIN CHERIM; SCOTT               )
 PARTEE; ROBERT CRAIG; ERIC PLOTT;         )
 BRET ROBISON; JOHN BURLE; RON             )
 BEEBE; BRUCE FISHER; BRUCE                )
 HAGAMAN; BRUCE SANDERS; DALE              )
 MASSEY; ERIC WELSH; GORDON                )

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 BELLESS; LONN HOWARTER; MIKE                  )
 KEITHLEY; TRENT BIRCHFIELD; RICK              )
 YOCUM; KERRYE ANNABLE;                        )
 CHRISTOPHER QUIGLEY; MARC                     )
 COUFAL; PAUL CHAPIN; STEPHANIE                )
 DORETHY; THOMAS STUCK; CHAD                   )
 JENNINGS; GREGORY SORENSEN;                   )
 CHRIS PITTS; RUSSELL GOINS; LISA              )
 HARRIS; RYAN ERICKSON; RANDALL                )
 BAYLER; LEIF MCCARTHY; CHAD RAY;              )
 ARNOLD STEBER; DONALD HARRIS;                 )
 JAMES WHELAN; EARL DIXON; ALAN                )
 DALLAS; MARTIN BUCHNER; ROBERT                )
 BOLDREY; LISA TARR; MATT FREEMAN;             )
 JAMES OCHS; RICHARD MOORE;                    )
 RODNEY BRADY; DAVID WHITE;                    )
 MEMBERS OF TACTICAL TEAM KNOWN                )
 AS “ORANGE CRUSH”; and UNKNOWN                )
 SUPERVISORS,                                  )
                                               )
             Defendants.                       )

                      SECOND AMENDED COMPLAINT

      Plaintiffs, Demetrius Ross, Jonathan Tolliver, Kevin Hamilton, Glen Verser,

Zachary Watts, James Dunmore, and Ronald Smith, on behalf of themselves and all

others similarly situated, by and through their attorneys, Loevy & Loevy and

Uptown People’s Law Center, complains of Defendants Robert Adams, Rachelle

Aiken, Steve Albrecht, Richard Allen, Ashley Alvey, Jeremy Alwerdt, Nathan

Anderson, Pat Anderson, Khorey Anderton, Brendan Ankrom, Charles Antry,

Robert Arnett, Sarah Arnett, Michael Atchison, Bradley Ausbrook, Mike Austin,

Brian Bailey, Bryan Bailey, Gene Bailey, Ryan Bailey, Shawn Bailliez (aka Balliez),

Chris Barber, Mike Baughman, Stephen Bayer, Dustin Bayler, Derek Baylon,

Randy Baylor, Stephanie Beasley, Chad Belcher, James Berry, Nathan Berry, Paul



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Blacwell (aka Blackwell), Robert Blackwell, David Bogart, Jimmy Bonner, Andrew

(“Andy”) Bottrell, Tim Bowen, Mark Bower, Mike Bowers, Larry Boyd, Stephen

Boyle, Hubert Brace, Christopher Brant, Scott Britton, David Brock, Kyle Brooks,

Bud Brown, Douglas Brown, Kenny (“Kenneth”) Brown, David Browning, Chris

Brubaker, James Bruce, Dennis Bucco, Zachariah Buchanan, Zachary Buchenau,

Jeff Bundren, John Burrow, Jon Burrow, Jonah Butler, Kim Butler, Christopher

Cales, Aaron Campbell, Matt Cannon, Janet Carle, Chase Caron, Bill Carroll,

Fredrick (“Fred”) Carter, Jarrod Carter, Kevin Cartwright, Derrick Caudle, Mike

Chekevida, John Chenault Jr., Tod Childers, Trevor Chitwood, James Cissell,

Bradley Clark, Mike Clark, Ethan Clary, Vincent Cogdal, Charles Compton, Nick

Conklin, Steven Conrad, Timothy Conrad, Adrian Corley, DaWayne Cotton, Nathan

Courtright, Angela Craddock, Joe Curry, Josh Curry, Jason Dams, Benny (“Benn”)

Davis, Randy Davis, Ryan Davis, Troy Davis, Elliot Daymon, Michael Dean, Matt

Dees (aka Dess), Rene DeGroof, Drew Derenzy, Rod Dial, Dwight Dilg, Micah

Dillon, Samuel Dillon, Justin Dircks, Vince Diveley, Samuel Dixon, Kyle Donjon,

Robert Dorethy (aka Dorety), Wes Dothager, Terry Douglas, Brian Dowdy, Jerry

Dronenberg, Brad Duckworth, Ryan Dumstroff (aka Dumstorff), Stephen Duncan,

Mica Dunn, Mike Dunning, Dwayne Durham, Daniel Dust, Bryan Easton, Scott

Ebers, Justin Eckelberry, Olin Eldridge, Lisa Ellinger, Blake Elliot, Justin

Engelage, Wesley Engelage, David English, Frank Eovaldi, Steven Estes, Tim

Feurer, Keneth (“Kenneth”) Finney, Paul Fletcher, M. Fluder, Chris Forbes, Joseph

France, Anton Frazier, Charles Fricke, Wes Fuchs, Cory Fuqua, Jason Furlow,



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Andrew Gangloff, Douglas Gellner, Pete Geppert, Michael Gilreath, Jason Ginder,

Edwin Gladney, Maury Goble, James Gosnell, James Gosnell, James Gray, John

Green, Greg Gossett, Shane Gregson, Brian Guetersloh, Charles Hahn, Akeem

Hamilton, Justin Hammers, Jared Hankinds, Mark Hanks, Dustin Harmon, Jerry

Harper, Noble Harrington, Jacob Harris, Jake Harris, Kendall Harris, Richard

Harris, Benjamin Haynes, Tracy Heiman, Ayla (“Alya”) Heinzmann, Mark

Heinzmann, Larry Henderson, Joel Hepp, David Hermetz, Bradley Herzog, Dustin

Hewitt, Kelly Higgins, Jeff Hill, Kevin Hirch, David Holder, Tyler Holland, Bill

Hopkins, Seth Hough, Shayne Howell, William Hughey, Kyle Hughhey, Brandon

Hunter, Joseph Jackson, M.H. Jansen, Matthew H. Jansen, Curtis Jenkins, Marcus

Jenkins, Jason Jester, Loretta Joachim, Brad Johnson, James Johnson, Justin

Johnson, Kevin W. Johnson, Matt Johnson, Anthony Jones, John Jones, Michael

Jones, Tyler Jones, Chris Kamp, Robert Kamp, Josh Kapper, Brian Kauling, Josh

Keener, Clarence Kellerman, Shannon Kelly, Jeffrey Kidd, Walter Kling, John

Koch, Eric Kohl, Dan Korte, Daniel Korte, Ryan Kram, Erik Krammer, Greg

Krause, Preston Krausharr, Steven Kretschumer, Brian Kulich, Scott Lamb,

Michael (“Mike”) Laminack, Nicholas Lampley, Jason Lane, Chris Leipold, Ben

Lewis, Jacob Liles, Doug Line, Romelle Lipscomb, Brian Livingston, Brandon Lloyd,

James Lloyd, Alexander Lockhart, Leslie Lockwood, Amanda Lohman, Randy

Lohman, Nick Lohnes, Chris Luker, Todd Manker, Meredith Manning, John

Maragni, Dale Martin, Doug Mason, Kyle Massey, Allison Mathis, Andrew Mays,

Anthony McAllister, Timothy (“Timmy”) McAllister, Jeremy McBride, Ray McCann,



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 Jason McCarty, Jullian McCarty, Ryan McClellan, Walter McCormick, Brad

 McCuan, Josh McDonald, Carl McFarland, Jay McMillan, Travis McReynolds,

 Lucas Mennerich, Josh Mensing, Jason Migneron, Jacob Milam, Justin Miller,

 Kevin Miller, John Mohr, Alex Moll, Dale Monical, Wesley Monroe, David Moore,

 Richard Moore, Zach Moore, Canduce Morrill, Jason Morris, Andrew (“Andy”)

 Moser, Dan Moyers, Dan Mullin, Dan Mullin, Nathan Musgrave, Barry Myers,

 William (“Bill”) Myers, Nick Nalley, Myron Neisler, Matt Newbury, Rich Nidey,

 Travis Ochs, Zach Oglesby, Lareese Olinger, Lee Parker, Wendy Parks, Robert

 Passmore, Jeremiah Patterson, Zach Payne, Sam Peradotta, Gary Perkins, Scott

 Petijean, Andy Phelps, Jared Phillips, Brian Piper, Matt Plummer, Jon Pochie,

 Gerhard Poettker, Kenny Porter, Bryan Posey, Larry Provence, Donald (“Don”)

 Pulliam, Jacob Pyle, Trent Ralston, Rory Renk, John Restoff, Kris Reynolds, Steven

 Richard, Brandon Richey, James Rigdon, Robert Rivett, Abby Roberts, Jason

 Robinson, Kent Robinson, Zach Roeckeman, Jeff Roelandt, Jesse Rosenberger,

 Trevor Rowland, James Russell, Chris Sanders, Chad Sappington, Zach Sarver,

 Marcus Sawyer, Stephen Sawyer, Steven Sawyer, Ashley Schafer, Anthony Scoles,

 Minh Scott, Thomas Scott, Ashley Sears, Jared Selby, Anthony Senn, Bruce Settles,

 Chris Sexton, Todd Sexton, Todd Shefler (aka Sheffler), Samuel Shehorn, Samuel

 Shehorn, Eric Shelton, Ronnie Sherrock, Chris Sherrod, Wes Shirley, Ron Shoultz,

 Tyson Shurtz, Clint Sigrist, Mitch Simmons, Bruce Sisney, Jamie Skaggs, Derek

 Smith, Johnnie Smith, Kenneth Smith, Randy Smith, Robert Smith, Shane Smith,

 Tom Smith, Quinton Smothers, Scott Snider, Nicholas Sroka, Jonathon Staley,



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 Mike Stanart, Gary Stark, Nick Steele, Cally (“Callie”) Stein, Jesse Stephens,

 James Baldwin, Andy Stout, Steve Strickell, Brad Stuck, Mike Stufflebeam, Roger

 Sullivan, T.J. Swarts, Mike Swetland, Jerry Tanner, Sierra Tate, Sam Taylor,

 David Teske, MaryEllen Thomason, Ashley Thompson, Frank Thompson, Tammy

 Thousand, Martin Tovar, Matthew Tribble, Steven Tutoky, Nick Ulery, Dennis

 Urhig, Ben (“Benjamin”) Vaughn, Andrew Volk, John Vroman, Cayd Walljasper,

 Robert Walsh, Eric Wangler, Eric Ward, Nathan Ward, Luke Waters, Rene Waters,

 James Watkins, Eric Weber, Eric Wenzel, Caleb Wesley, Aaron Westerman, Chris

 White, John Whitlow, Tony Whitten, Steve Wilcoxen, Trevor Wilkinson, Fred

 Williams, Dallas Willis, Brice Wilson, Tim Winans, Matthew Winka, Troy Winker,

 Troy Winkler, Carson Winter (aka Winters), Lance Wise, Jerry Witthoft, Cody

 Wittinghill, Jon Wolfe, Tim Worker, Scott Workman, Brad Yonaka, Dustin York,

 Joseph Yurkovich, Caleb Zang, Ryan Ziegler, William Zimmerman, Jason Zollars,

 and Jason Zurliene, S.A. Godinez, Donald Gaetz, William Rees, David Childers,

 James Best, Robert Hughes, George Holton, Terry Clements, Kent Brookman, John

 Tourville, Richard Moore, Brian Thomas, Douglas Lyerla, Jay Ziegler, Kevin

 Reichert, Chad Hasemeyer, Kevin Page, Beau Purtle, Patrick Trokey, Jeffrey

 Marnati, Raymond Allen, James Powell, Bill Westfall, John Mich, Roger Waller,

 John Hoffman, Raymond Groves, David Evelsizer, Sean Smolak, Michael Samuel,

 George Welborn, Christopher Bradley, Tony Payne, Jr., Michael Monje, Tracy Lee,

 John Carter, Alexander Jones, Richard Harrington, Daniel Monti, Louis Browder,

 Ventures Jackson, Denise Minor, Jacob Null, Daniel Sullivan, Jack Townely,



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 Harold Schuler, Jeffrey Julius, Richard Lynch, Michael Grisham, Michael Durbin,

 Dennis Followell, Danny Britton, George Davis, Kevin Chamness, Charles Hayden,

 James Studer, Robin Cherim, Scott Partee, Robert Craig, Eric Plott, Bret Robison,

 John Burle, Ron Beebe, Bruce Fisher, Bruce Hagaman, Bruce Sanders, Dale

 Massey, Eric Welsh, Gordon Belless, Lonn Howarter, Mike Keithley, Trent

 Birchfield, Rick Yocum, Kerrye Annable, Christopher Quigley, Marc Coufal, Paul

 Chapin, Stephanie Dorethy, Thomas Stuck, Chad Jennings, Gregory Sorensen,

 Chris Pitts, Russell Goins, Lisa Harris, Ryan Erickson, Randall Bayler, Leif

 McCarthy, Chad Ray, Arnold Steber, Donald Harris, James Whelan, Earl Dixon,

 Alan Dallas, Martin Buchner, Robert Boldrey, Lisa Tarr, Matt Freeman, James

 Ochs, Richard Moore, Rodney Brady, David White (Defendant Orange Crush

 Officers), Unknown Members of Tactical Team Known as “Orange Crush,” and

 Unknown Supervisors, and states as follows:

                                    Introduction

       1.     In late April 2014, the “Orange Crush” conducted a shakedown of cells

 at Illinois River Correctional Center (Illinois River). Rather than pursue this

 shakedown as a legitimate security procedure, however, Defendants beat, sexually

 humiliated, and otherwise abused Mr. Ross (and hundreds of other prisoners),

 destroyed his property, and otherwise gratuitously inflicted punishment for the sole

 purpose of causing humiliation and needless pain. Plaintiffs seek damages for their

 injuries (and those of other similarly abused prisoners), and an injunction

 prohibiting Defendants from inflicting such abuse during future searches.



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       2.     For example, Mr. Ross and other prisoners at Illinois River were

 subject to: a humiliating strip search in front of female officers and orders to

 prisoners to touch their genitals and then use the same hand to open their mouths;

 painfully tight handcuffing with their palms outward; orders to march from their

 housing units to the gym at the facility with their heads on the backs of the

 prisoners ahead of them in line so that one man’s genitals were in direct contact

 with the next man’s buttocks (referred to by the Orange Crush team as “Nuts to

 Butts”); violent attacks by Defendant Orange Crush Officers when prisoners broke

 that formation; and orders to stand in a stress position for several hours.

 Throughout the entire shakedown, Defendant Orange Crush Officers hurled

 epithets at the prisoners, chanted “punish the inmate,” and told them that this was

 punishment for their sins.

       3.     Defendants’ conduct at Illinois River was not an aberration. Rather,

 “Orange Crush” has conducted similar abusive strip searches and shakedowns at

 other Illinois Department of Corrections (IDOC) facilities, including Menard

 Correctional Center (Menard), Big Muddy River Correctional Center (Big Muddy

 River), and Lawrence Correctional Center (Lawrence). All of these shakedowns are

 the direct result of unconstitutional policies and practices in place at the IDOC to

 conduct periodic Orange Crush shakedowns so as to inflict pain and humiliation on

 prisoners entrusted to its care.




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       4.     The painful and humiliating shakedowns inflicted physical injuries—

 including headaches, dizziness, wrist pain, and lower back pain—and emotional

 injuries—including severe embarrassment, fear, stress, trauma, and humiliation.

                               Jurisdiction and Venue

       5.     This Court has jurisdiction of this action pursuant to 28 U.S.C. §§ 1331

 and 1367.

       6.     Venue is proper under 28 U.S.C. § 1391(b). On information and belief,

 one or more Defendants reside in this judicial district, and a substantial portion of

 the events giving rise to the claims asserted herein occurred within this district.

                                        Parties

       7.     Plaintiff Demetrius Ross is a prisoner in the custody of the IDOC. At

 all times relevant to the events at issue in this case, Mr. Ross was housed at Illinois

 River. Mr. Ross brings this action on behalf of himself and all others similarly

 situated to him—namely, other prisoners housed at Illinois River, Menard, Big

 Muddy River, and Lawrence from 2014 to the present, all of whom were subjected to

 the same shakedown procedures that Mr. Ross suffered.

       8.     Plaintiff Jonathan Tolliver is a prisoner in the custody of the IDOC. At

 all times relevant to the events at issue in this case, Mr. Tolliver was housed at

 Menard. Mr. Tolliver brings this action on behalf of himself and all others similarly

 situated to him—namely, other prisoners housed at Illinois River, Menard, Big

 Muddy River, and Lawrence from 2014 to the present, all of whom were subjected to

 the same shakedown procedures that Mr. Tolliver suffered.



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       9.     Plaintiff Kevin Hamilton is a prisoner in the custody of the IDOC. At

 all times relevant to the events at issue in this case, Mr. Hamilton was housed at

 Big Muddy. Mr. Hamilton brings this action on behalf of himself and all others

 similarly situated to him—namely, other prisoners housed at Illinois River,

 Menard, Big Muddy River, and Lawrence from 2014 to the present, all of whom

 were subjected to the same shakedown procedures that Mr. Hamilton suffered.

       10.    At all times relevant to the events at issue in this case, Plaintiff Glen

 Verser was a prisoner in the custody of the IDOC, and was housed at Lawrence.

 Mr. Verser brings this action on behalf of himself and all others similarly situated

 to him—namely, other prisoners housed at Illinois River, Menard, Big Muddy River,

 and Lawrence from 2014 to the present, all of whom were subjected to the same

 shakedown procedures that Mr. Verser suffered.

       11.    Plaintiff Zachary Watts is a prisoner in the custody of the IDOC. At all

 times relevant to the events at issue in this case, Mr. Watts was housed at Big

 Muddy. Mr. Watts brings this action on behalf of himself and all others similarly

 situated to him—namely, other prisoners housed at Illinois River, Menard, Big

 Muddy River, and Lawrence from 2014 to the present, all of whom were subjected to

 the same shakedown procedures that Mr. Watts suffered.

       12.    Plaintiff James Dunmore is a prisoner in the custody of the IDOC. At

 all times relevant to the events at issue in this case, Mr. Dunmore was housed at

 Lawrence. Mr. Dunmore brings this action on behalf of himself and all others

 similarly situated to him—namely, other prisoners housed at Illinois River,



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 Menard, Big Muddy River, and Lawrence from 2014 to the present, all of whom

 were subjected to the same shakedown procedures that Mr. Dunmore suffered.

       13.    Plaintiff Ronald Smith is a prisoner in the custody of the IDOC. At all

 times relevant to the events at issue in this case, Mr. Smith was housed at Menard.

 Mr. Smith brings this action on behalf of himself and all others similarly situated to

 him—namely, other prisoners housed at Illinois River, Menard, Big Muddy River,

 and Lawrence from 2014 to the present, all of whom were subjected to the same

 shakedown procedures that Mr. Smith suffered.

       14.    Defendants Robert Adams, Rachelle Aiken, Steve Albrecht, Richard

 Allen, Ashley Alvey, Brendan Ankrom, Robert Arnett, Sarah Arnett, Bryan Bailey,

 Ryan Bailey, Shawn Bailliez, Dustin Bayler, Paul Blacwell (aka Blackwell), Andrew

 Bottrell, Larry Boyd, Douglas Brown, Chris Brubaker, Zachary Buchenau, Dennis

 Bucco, Derrick Caudle, Vincent Cogdal, Nick Conklin, Adrian Corley, Joe Curry,

 Jason Dams, Troy Davis, Drew Derenzy, Rod Dial, Micah Dillon, Samuel Dillon,

 Justin Dircks, Vince Diveley, Samuel Dixon, Robert Dorethy (aka Dorety), Jerry

 Dronenberg, Olin Eldridge, Lisa Ellinger, David English, Tim Feurer, Paul

 Fletcher, M. Fluder, Chris Forbes, Joseph France, Anton Frazier, Wes Fuchs,

 Douglas Gellner, John Green, Shannon Kelly, Walter Kling, Eric Kohl, Ryan Kram,

 Greg Krause, Preston Krausharr, Steven Kretschumer, Justin Hammers, Kelly

 Higgins, Bill Hopkins, Curtis Jenkins, Jason Jester, Loretta Joachim, Brad

 Johnson, Scott Lamb, Chris Leipold, Jacob Liles, Romelle Lipscomb, Nick Lohnes,

 Chris Luker, Meredith Manning, Allison Mathis, Canduce Morrill, Andrew Moser,



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 William (“Bill”) Myers, Myron Neisler, Lee Parker, Robert Passmore, Andy Phelps,

 Brian Piper, Bryan Posey, Jacob Pyle, Abby Roberts, Kent Robinson, Chad

 Sappington, Ashley Schafer, Thomas Scott, Ron Shoultz, Jamie Skaggs, Bruce

 Settles, Todd Sexton, Ronnie Sherrock, Derek Smith, Cally Stein, Mike Stufflebean,

 T.J. Swarts, Sam Taylor, Frank Thompson, Ashley Thompson, Tammy Thousand,

 Steven Tutoky, Nick Ulery, Dennis Urhig, John Vroman, Cayd Walljasper, John

 Whitlow, Steve Wilcoxen, Fred Williams, and William Zimmerman, were all, at the

 time of the events at issue in this complaint, IDOC employees; members of the

 IDOC Special Operations Response Team (SORT) (commonly referred to as Orange

 Crush); and participants in the shakedowns that occurred at Illinois River. At all

 times relevant to the events at issue in this case, these Defendants were acting

 under color of law and within the scope of their employment with the IDOC.

       15.    Defendants Robert Adams, Nathan Anderson, Khorey Anderton, Pat

 Anderson, Robert Arnett, Mike Austin, Brian Bailey, Shawn Bailliez, Chris Barber,

 Stephen Bayer, Stephanie Beasley, Chad Belcher, David Bogart, Andy Bottel,

 Stephen Boyle, Mike Bowers, Tim Bowen, David Brock, Kenny (“Kenneth”) Brown,

 David Browning, James Bruce, Jon Burrow, Jonah Butler, Matt Cannon, Fred

 Carter, Mike Clark, Mike Chekevida, Tod Childers, Trevor Chitwood, DaWayne

 Cotton, Nathan Courtright, Angela Craddock, Josh Curry, Benn Davis, Ryan Davis,

 Elliot Daymon, Matt Dees (aka Dess), Rene DeGroof, Dwight Dilg, Kyle Donjon,

 Robert Dorety (aka Dorethy), Wes Dothager, Terry Douglas, Brad Duckworth, Ryan

 Dumstroff (aka Dumstorff), Mica Dunn, Mike Dunning, Dwayne Durham, Scott



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 Ebers, Blake Elliot, Jason Engelage, Justin Engelage, Frank Eovaldi, Steven Estes,

 Keneth (“Kenneth”) Finney, Cory Fuqua, Jason Furlow, Pete Geppert, Brian

 Guetersloh, Michael Gilreath, Jason Ginder, Charles Hahn, Jared Hankinds, Jacob

 Harris, Kendall Harris, Ayla (“Alya”) Heinzmann, Mark Heinzmann, Larry

 Henderson, David Hermetz, Bradley Herzog, Dustin Hewitt, Tyler Holland, William

 Hughey, Brandon Hunter, Joseph Jackson, M.H. Jansen, Curtis Jenkins, Marcus

 Jenkins, James Johnson, Justin Johnson, Matt Johnson, John Jones, Chris Kamp,

 Brian Kauling, Clarence Kellerman, Dan Korte, Brian Kulich, Scott Lamb, Mike

 Laminack, Brian Livingston, Leslie Lockwood, Amanda Lohman, Randy Lohman,

 Chris Luker, John Maragni, Dale Martin, Doug Mason, Kyle Massey, Jeremy

 McBride, Timmy McAllister, Ray McCann, Jason McCarty, Jullian McCarty, Ryan

 McClellan, Brad McCuan, Josh McDonald, Jay McMillan, Josh Mensing, Justin

 Miller, John Mohr, David Moore, Zach Moore, Canduce Morrill, Andy Moser, Dan

 Moyers, Nathan Musgrave, Barry Myers, Nick Nalley, Matt Newbury, Travis Ochs,

 Zach Oglesby, Zach Payne, Sam Peradotta, Scott Petijean, Jared Phillips, Brian

 Piper, Matt Plummer, Jon Pochie, Larry Provence, Donald Pulliam, Rory Renk,

 Robert Rivett, Jason Robinson, Jeff Roelandt, Jesse Rosenberger, James Russell,

 Zach Sarver, Marcus Sawyer, Steven Sawyer, Anthony Scoles, Jared Selby, Chris

 Sexton, Todd Shefler (aka Sheffler), Samuel Shehorn, Eric Shelton, Chris Sherrod,

 Wes Shirley, Bruce Sisney, Jamie Skaggs, Johnnie Smith, Randy Smith, Robert

 Smith, Shane Smith, Tom Smith, Quinton Smothers, Scott Snider, Nicholas Sroka,

 Mike Stanart, Gary Stark, Nick Steele, Callie Stein, Steve Strickell, Mike



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 Stufflebean, Roger Sullivan, Mike Swetland, Jerry Tanner, Sierra Tate, David

 Teske, Martin Tovar, Benjamin Vaughn, Robert Walsh, Eric Ward, Luke Waters,

 Rene Waters, James Watkins, Eric Wenzel, Aaron Westerman, Chris White, Jerry

 Witthoft, Tony Whitten, Trevor Wilkinson, Brice Wilson, Tim Winans, Troy Winker,

 Carson Winters, Lance Wise, Cody Wittinghill, Jon Wolfe, Tim Worker, Scott

 Workman, Brad Yonaka, Jason Zollars, and Jason Zurliene were all, at the time of

 the events at issue in this complaint, IDOC employees; members of the IDOC

 Special Operations Response Team (SORT) (commonly referred to as Orange

 Crush); and participants in the shakedowns that occurred at Big Muddy. At all

 times relevant to the events at issue in this case, these Defendants were acting

 under color of law and within the scope of their employment with the IDOC.

       16.    Defendants Jeremy Alwerdt, Nathan Anderson, Bradley Ausbrook,

 Randy Baylor, James Berry, Jimmy Bonner, Christopher Brant, Scott Britton, Kyle

 Brooks, Kenny Brown, Bud Brown, David Browning, Zachariah Buchanan, Jeff

 Bundren, John Burrow, Christopher Cales, Janet Carle, Bill Carroll, Jarrod Carter,

 John Chenault Jr., Trevor Chitwood, Ethan Clary, Steven Conrad, Timothy Conrad,

 Nathan Courtright, Angela Craddock, Benny Davis, Ryan Davis, Michael Dean,

 Terry Douglas, Brian Dowdy, Daniel Dust, Justin Eckelberry, Justin Engelage,

 Wesley Engelage, Frank Eovaldi, Kenneth Finney, Andrew Gangloff, Michael

 Gilreath, Jason Ginder, Edwin Gladney, Maury Goble, James Gosnell, James Gray,

 Akeem Hamilton, Jerry Harper, Noble Harrington, Jake Harris, Richard Harris,

 Tracy Heiman, Ayla Heinzmann, Jeff Hill, Seth Hough, Matthew H. Jansen,



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 Marcus Jenkins, Kevin W. Johnson, Robert Kamp, Josh Kapper, Josh Keener,

 Jeffrey Kidd, Daniel Korte, Michael Laminack, Nicholas Lampley, Ben Lewis, Doug

 Line, Brian Livingston, Alexander Lockhart, Amanda Lohman, Randy Lohman,

 Todd Manker, Dale Martin, Doug Mason, Andrew Mays, Timothy McAllister, Jason

 McCarty, Brad McCuan, Carl McFarland, Walter McCormick, Jay McMillan, Travis

 McReynolds, Josh Mensing, Jacob Milam, Kevin Miller, Dale Monical, David Moore,

 Zach Moore, Dan Mullin, Barry Myers, Rich Nidey, Travis Ochs, Zach Oglesby,

 Lareese Olinger, Jeremiah Patterson, Gary Perkins, Gerhard Poettker, Don

 Pulliam, Trent Ralston, Kris Reynolds, Brandon Richey, Robert Rivett, Jesse

 Rosenberger, Trevor Rowland, Chris Sanders, Stephen Sawyer, Ashley Sears,

 Anthony Senn, Samuel Shehorn, Chris Sherrod, Tyson Shurtz, Clint Sigrist, Tom

 Smith, Quinton Smothers, Jonathon Staley, Jesse Stephens, Andy Stout, Brad

 Stuck, Roger Sullivan, Jerry Tanner, MaryEllen Thomason, Matthew Tribble, Ben

 Vaughn, Andrew Volk, Robert Walsh, Eric Wangler, Eric Ward, Luke Waters, Eric

 Weber, Caleb Wesley, Chris White, Tony Whitten, Dallas Willis, Matthew Winka,

 Troy Winkler, Lance Wise, Jerry Witthoft, Cody Wittinghill, Scott Workman, Brad

 Yonaka, Dustin York, and Jason Zollars were all, at the time of the events at issue

 in this complaint, IDOC employees; members of the IDOC Special Operations

 Response Team (SORT) (commonly referred to as Orange Crush); and participants

 in the shakedowns that occurred at Lawrence. At all times relevant to the events at

 issue in this case, these Defendants were acting under color of law and within the

 scope of their employment with the IDOC.



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       17.    Defendants Charles Antry, Gene Bailey, Mike Baughman, Derek

 Baylon, Nathan Berry, Mark Bower, Hubert Brace, David Brock, Aaron Campbell,

 Chase Caron, Fredrick Carter, Kevin Cartwright, James Cissell, Bradley Clark,

 Charles Compton, Benny Davis, Kyle Donjon, Bryan Easton, Scott Ebers, Justin

 Engelage, Wesley Engelage, Frank Eovaldi, Charles Fricke, Jason Furlow, Edwin

 Gladney, Shane Gregson, Brian Guetersloh, Mark Hanks, Dustin Harmon, Richard

 Harris, Benjamin Haynes, Tracy Heiman, Joel Hepp, Kevin Hirch, David Holder,

 Shayne Howell, Kyle Hughhey, Brandon Hunter, Anthony Jones, Tyler Jones,

 Michael Jones, John Koch, Erik Krammer, Brian Kulich, Michael Laminack, Jason

 Lane, James Lloyd, Brandon Lloyd, Jay McMillan, Lucas Mennerich, Jason

 Migneron, Alex Moll, Wesley Monroe, Jason Morris, Wendy Parks, Jared Phillips,

 Kenny Porter, Rory Renk, John Restoff, Steven Richard, James Rigdon, Trevor

 Rowland, Minh Scott, Tyson Shurtz, Mitch Simmons, Kenneth Smith, Nathan

 Ward, James Watkins, Eric Wenzel, Aaron Westerman, Carson Winter, Jerry

 Witthoft, Caleb Zang, and Ryan Ziegler were all, at the time of the events at issue

 in this complaint, IDOC employees; members of the IDOC Special Operations

 Response Team (SORT) (commonly referred to as Orange Crush); and participants

 in the shakedowns that occurred at Menard. At all times relevant to the events at

 issue in this case, these Defendants were acting under color of law and within the

 scope of their employment with the IDOC.

       18.    Defendants William Rees, David Childers, James Best, Robert Hughes,

 George Holton, Terry Clements, Kent Brookman, John Tourville, Richard Moore,



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 Brian Thomas, Douglas Lyerla, Jay Ziegler, Kevin Reichert, Chad Hasemeyer,

 Kevin Page, Beau Purtle, Patrick Trokey, Jeffrey Marnati, Raymond Allen, James

 Powell, Bill Westfall, John Mich, Roger Waller, John Hoffman, Raymond Groves,

 David Evelsizer, Sean Smolak, Michael Samuel, George Welborn, Christopher

 Bradley, Tony Payne, Jr., Michael Monje, Tracy Lee, John Carter, and Alexander

 Jones, were all, at the time of the events at issue in this complaint, IDOC

 supervisors; members or supervisors of the IDOC Special Operations Response

 Team (SORT) (commonly referred to as Orange Crush); and participants in the

 shakedowns that occurred at Menard. At all times relevant to the events at issue in

 this case, these Defendants were acting under color of law and within the scope of

 their employment with the IDOC.

       19.    Defendants Daniel Monti, Louis Browder, Ventures Jackson, Denise

 Minor, Jacob Null, Daniel Sullivan, Jack Townely, Harold Schuler, Jeffrey Julius,

 Richard Lynch, Michael Grisham, Michael Durbin, Dennis Followell, Danny

 Britton, George Davis, Kevin Chamness, Charles Hayden, James Studer, Robin

 Cherim, Scott Partee, Robert Craig, and Eric Plott, were all, at the time of the

 events at issue in this complaint, IDOC supervisors; members or supervisors of the

 IDOC Special Operations Response Team (SORT) (commonly referred to as Orange

 Crush); and participants in the shakedowns that occurred at Big Muddy. At all

 times relevant to the events at issue in this case, these Defendants were acting

 under color of law and within the scope of their employment with the IDOC.




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       20.    Defendants Bret Robison, John Burle, Ron Beebe, Bruce Fisher, Bruce

 Hagaman, Bruce Sanders, Dale Massey, Eric Welsh, Gordon Belless, Lonn

 Howarter, Mike Keithley, Trent Birchfield, Rick Yocum, Kerrye Annable,

 Christopher Quigley, Marc Coufal, Paul Chapin, and Stephanie Dorethy, were all,

 at the time of the events at issue in this complaint, IDOC supervisors; members or

 supervisors of the IDOC Special Operations Response Team (SORT) (commonly

 referred to as Orange Crush); and participants in the shakedowns that occurred at

 Illinois River. At all times relevant to the events at issue in this case, these

 Defendants were acting under color of law and within the scope of their employment

 with the IDOC.

       21.    Defendants Thomas Stuck, Chad Jennings, Gregory Sorensen, Chris

 Pitts, Russell Goins, Lisa Harris, Ryan Erickson, Randall Bayler, Leif McCarthy,

 Chad Ray, Arnold Steber, Donald Harris, James Whelan, Earl Dixon, Alan Dallas,

 Martin Buchner, Robert Boldrey, Lisa Tarr, Matt Freeman, James Ochs, and

 Richard Moore, were all, at the time of the events at issue in this complaint, IDOC

 supervisors; members or supervisors of the IDOC Special Operations Response

 Team (SORT) (commonly referred to as Orange Crush); and participants in the

 shakedowns that occurred at Lawrence. At all times relevant to the events at issue

 in this case, these Defendants were acting under color of law and within the scope of

 their employment with the IDOC.

       22.    Defendants Unknown Members of Tactical Team Known as “Orange

 Crush” are all employees of the IDOC, and all members of the Orange Crush team.



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 Upon information and belief, they travel from facility to facility within the IDOC

 conducting shakedowns and other special procedures at IDOC facilities. At all

 times relevant to the events at issue in this case, Defendant Unknown Members of

 Tactical Team Known as “Orange Crush” were acting under color of law and within

 the scope of their employment with the IDOC.

       23.    At the time of events at issue in Plaintiffs’ complaint, Defendant Greg

 Gossett was the Warden at Illinois River, and an employee of the IDOC. On

 information and belief, Defendant Gossett was responsible for the supervision of the

 shakedowns at Illinois River. At all times relevant to the events at issue in this

 case, Defendant Gossett was acting under color of law and within the scope of his

 employment with the IDOC.

       24.    At the time of events at issue in Plaintiffs’ complaint, Defendants

 Robert Arnett, T.J. Swarts, Robert Blackwell, and Rodney Brady commanded and

 supervised the tactical team members during the shakedowns at Illinois River. At

 all times relevant to the events at issue in this case, Defendants Arnett, Swarts,

 Blackwell, and Brady were acting under color of law and within the scope of their

 employment with the IDOC.

       25.    At the time of events at issue in Plaintiffs’ complaint, Defendant Zach

 Roeckeman was the Warden at Big Muddy River, and an employee of the IDOC. On

 information and belief, Defendant Roeckeman was responsible for the supervision of

 the shakedowns at Big Muddy River. At all times relevant to the events at issue in




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 this case, Defendant Roeckeman was acting under color of law and within the scope

 of his employment with the IDOC.

       26.   At the time of events at issue in Plaintiffs’ complaint, Defendants Eric

 Wangler, Brad McCuan, Tony Whitten, Jerry Witthoft, Nathan Anderson, Stephen

 Boyle, David Hermetz, Jason Robinson, and Robert Arnett commanded and

 supervised the tactical team members during the shakedowns at Big Muddy. At all

 times relevant to the events at issue in this case, Defendants Wangler, McCuan,

 Whitten, Witthoft, Anderson, Boyle Hermetz, Robinson, and Arnett were acting

 under color of law and within the scope of their employment with the IDOC.

       27.   At the time of events at issue in Plaintiffs’ complaint, Defendant

 Stephen Duncan was the Warden at Lawrence, and an employee of the IDOC. On

 information and belief, Defendant Duncan was responsible for the supervision of the

 shakedowns at Lawrence. At all times relevant to the events at issue in this case,

 Defendant Duncan was acting under color of law and within the scope of his

 employment with the IDOC.

       28.   At the time of events at issue in Plaintiffs’ complaint, Defendants

 Stephen Boyle, Eric Wangler, Jerry Witthoft, Nathan Anderson, Tony Whitten,

 Brad McCuan, and Kevin Miller commanded and supervised the tactical team

 members during the shakedowns at Lawrence. At all times relevant to the events

 at issue in this case, Defendants Boyle, Wangler, Witthoft, Anderson, Whitten,

 McCuan, and Miller were acting under color of law and within the scope of their

 employment with the IDOC.



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       29.    At the time of the events at issue in Plaintiffs’ complaint, Defendant

 Richard Moore was the Assistant Warden of Operations at Lawrence, and an

 employee of the IDOC. On information and belief, Defendant Moore was

 responsible for the supervision of the shakedowns at Lawrence and a supervisor in

 the operations chain of command during the Lawrence shakedowns. At all times

 relevant to the events at issue in this case, Defendant Moore was acting under color

 of law and within the scope of his employment with the IDOC.

       30.    At the time of events at issue in Plaintiffs’ complaint, Defendant

 Anthony McAllister was the Southern Region Tactical Commander for IDOC, and

 an employee of the IDOC. On information and belief, Defendant McAllister was

 responsible for the supervision of the shakedowns at Lawrence and a supervisor in

 the operations chain of command during the Lawrence shakedowns. On

 information and belief, Defendant McAllister also served as a supervisor during the

 other shakedowns described in Plaintiffs’ complaint. At all times relevant to the

 events at issue in this case, Defendant McAllister was acting under color of law and

 within the scope of his employment with the IDOC.

       31.    At the time of events at issue in Plaintiffs’ complaint, Defendant Kim

 Butler and/or Richard Harrington was the Warden at Menard, and an employee of

 the IDOC. On information and belief, Defendant Butler and/or Harrington was

 responsible for the supervision of the shakedowns at Menard. At all times relevant

 to the events at issue in this case, Defendant Butler and/or Harrington was acting

 under color of law and within the scope of her employment with the IDOC.



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       32.    At the time of events at issue in Plaintiffs’ complaint, Defendants Jerry

 Witthoft, Scott Snider, Kevin Cartwright, Eric Wangler, David Hermetz, and David

 White commanded and supervised the tactical team members during the

 shakedowns at Menard. At all times relevant to the events at issue in this case,

 Defendants Witthoft, Snider, Cartwright, Wangler, Hermetz, and White were acting

 under color of law and within the scope of their employment with the IDOC.

       33.    Defendant Joseph Yurkovich is the Chief of Operations for the IDOC,

 and is responsible for the supervision of all SORT (Orange Crush) units and the

 implementation, oversight, and supervision of policies and practices executed by

 Orange Crush members. At all times relevant to the events at issue in this case,

 Defendant Yurkovich was acting under color of law and within the scope of his

 employment with the IDOC.

       34.    Defendant Michael Atchison is the former Deputy Chief of the

 Operations Division of IDOC, and acted as Command Staff with supervisory

 responsibilities during the Lawrence and, on information and belief, the other

 shakedowns described in Plaintiffs’ complaint. At all times relevant to the events at

 issue in this case, Defendant Atchison was acting under color of law and within the

 scope of his employment with the IDOC.

       35.    Defendant Randy Davis is the former Southern Region Deputy

 Director for IDOC, and acted as Command Staff with supervisory responsibilities

 during the Lawrence Correctional Center shakedowns and, on information and

 belief, the other shakedowns described in Plaintiffs’ complaint. At all times



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 relevant to the events at issue in this case, Defendant Davis was acting under color

 of law and within the scope of his employment with the IDOC.

       36.    At all times relevant to Plaintiffs’ complaint, Defendant Donald Gaetz

 was the Southern Deputy Director for the IDOC, and acted as Command Staff with

 supervisory responsibilities during the Menard shakedowns and, on information

 and belief, the other shakedowns described in Plaintiffs’ complaint. At all times

 relevant to the events at issue in this case, Defendant Gaetz was acting under color

 of law and within the scope of his employment with the IDOC.

       37.    Defendant Unknown Supervisors are the unknown supervisors

 responsible for overseeing various aspects of the shakedowns described in Plaintiffs’

 complaint. The Defendant Unknown Supervisors include all supervisors identified

 in the Operational Orders for each of the shakedowns; the supervisors acting in the

 role of Assistant Warden of Operations at Illinois River, Big Muddy, and Menard at

 the time of the shakedowns; all supervisors in the operations chain of command

 during the shakedowns; all supervisors acting as Command Staff during the

 shakedowns; and all IDOC regional administrators responsible for overseeing or

 supervising any aspect of any of the shakedowns described in Plaintiffs’ complaint.

       38.    Defendant S.A. Godinez was the former Directors of the IDOC. He has

 been sued in his individual capacity. At the time of events at issue in Plaintiffs’

 complaint, Defendants Godinez was an employee of the IDOC, and acted under

 color of law and within the scope of his employment.




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       39.    Defendant James Baldwin is the current Director of the IDOC. He is

 sued in his official capacity as Director of the IDOC. Plaintiffs, on behalf of

 themselves and all others similarly situated, assert only claims for injunctive relief

 against Defendant Baldwin. As the Director of the IDOC, Defendant Baldwin acts

 under color of law.

                                      Allegations

       40.    In late April 2014, Illinois River was put on lockdown for

 approximately one week. During the lockdown, Defendant Orange Crush Officers

 conducted a shakedown of each house at the facility.

       41.    Upon entering each wing of the facility, Defendant Orange Crush

 Officers would yell loudly and began making loud “whooping” noises, and hitting

 their batons on the walls, tables, doors, and railings in the wing.

       42.    Two of the Orange Crush officers lined up in front of each cell in the

 wing, and yelled at the men in the wing to “get asshole naked!” Once the prisoners

 were undressed, they ordered each man to come out of his cell, one at a time. They

 ordered each prisoner to bend over while facing their cell (leaving their backs to the

 officers), and spread their buttocks and lift each foot off the ground.

       43.    Defendant Orange Crush Officers then ordered the men to turn around

 to face the officers, and to lift their genitals. Next, they were ordered to open their

 mouths with their fingers, using the same hands that they had just used to touch

 their genitals and buttocks. Prisoners who asked to wash their hands before putting

 them into their mouths were told to “shut the fuck up!” and were threatened with



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 segregation if they did not comply. Some of the Defendant Orange Crush Officers

 present in the housing unit during the strip search were female.

        44.   When Defendant Orange Crush Officers finished strip searching the

 first group of prisoners in the cells, they ordered them to return to their cell and to

 get dressed in pants, overshirts, and shoes. They were told that they could not put

 on any underwear. While those men were putting on the permitted clothing,

 Defendant Orange Crush Officers repeated the same process with the other men in

 the cells.

        45.   Once all of the strip searches were completed, Defendant Orange

 Crush Officers ordered the men to face the wall (with their backs to the officers) and

 to “keep [their] fucking heads down!” Any prisoner who looked at the officers was

 slammed into the wall and told to “put [his] fucking head down!” Defendant Orange

 Crush Officers then handcuffed all of the men in a particularly painful way—with

 the palms of their hands facing outwards and their thumbs pointed up to the sky.

 The handcuffs were also extremely tight, causing injuries to the prisoners’ wrists,

 and eliciting complaints from the prisoners. They were told to “shut the fuck up!”

 and to “keep [their] fucking head[s] down!” and were threatened with segregation if

 they did not comply. Some of the prisoners asked to see a nurse or other medical

 staff. Their requests received the same response. All of the prisoners were

 handcuffed in the same way, regardless of whether they had a “front cuff” permit

 issued by medical staff (a medical order requiring correctional officers to handcuff

 men with their hands in front of them, rather than behind).



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       46.    The men were ordered to line up and told to keep their heads down.

 Defendant Orange Crush Officers then lined up next to the prisoners, hitting their

 batons in their hands, and chanting “punish the inmate.” This went on for several

 minutes.

       47.    Once the chanting stopped, Defendant Orange Crush Officers grabbed

 the back of each prisoner’s head and slammed it violently into the back of the

 prisoner ahead of him in line. Defendant Orange Crush Officers ordered the

 prisoners to stand in such a way that one man’s genitals were in direct contact with

 the buttocks of the man ahead of him in line—referred to by Defendant Orange

 Crush Officers as “Nuts to Butts.” Mr. Ross’s head was slammed down so violently

 that his glasses broke and fell from his face. He suffered extreme dizziness and

 lightheadedness as a result.

       48.    Defendant Orange Crush Officers then shoved their batons in between

 each prisoner’s legs and jerked upwards, forcing the prisoner to straighten his legs

 while keeping his back bent over at a 90-degree angle onto the prisoner in front of

 him. This had the effect of forcing the men to place their genitals directly against

 the buttocks of the men in front of them. The officers then ordered the prisoners,

 using several epithets, to march in that formation from their housing wing to the

 gym at the facility. As the men began marching, the officers yelled that they didn’t

 “want to see any fucking daylight” between any of the prisoners in line.

       49.    The march from the housing wing to the gym was long and painful.

 Every time that a prisoner’s head came off of the back of the prisoner in front of



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 him, officers responded with violence. Defendant Orange Crush Officers would

 slam the prisoner’s head into the back of the prisoner in front of him. Some, like

 Mr. Ross, were violently yanked out of the line, and choked and pulled to the ground

 while other officers jabbed them in their backs with batons. Each time this

 occurred, the line would stop moving. The frequent starts and stops of the

 procession, as well as the inherent difficulty that prisoners had maintaining perfect

 contact with the prisoner ahead of them in line, forced several prisoners to break

 contact with the prisoner in front of them, causing them to be attacked by the

 officers.

        50.   When the procession of prisoners arrived at the gym, Defendant

 Orange Crush Officers ordered them to stand facing the wall with their heads down.

 They remained handcuffed. Many of the officers then left the gym to return to the

 housing wing. Defendant Albright, however, remained in the gym with the

 prisoners.

        51.   The prisoners remained standing in this stress position for several

 hours. During that time, Defendant Albright yelled at the prisoners: “This is

 punishment for all your sins!” He ordered the prisoners not to ask for medical

 attention because none would be provided, not to ask for water because none would

 be given, and not to ask to use the bathroom because they would be denied. He

 further told the prisoners that if their handcuffs were too tight, they would have to

 “be a man and take it or get dragged to seg!”




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       52.    After several hours, the other Defendant Orange Crush Officers

 returned. They lined up the prisoners in the same formation as before, and again

 slammed their heads into the backs of the prisoners in front of them. They again

 ordered the prisoners to march in that formation back to their housing wing. Just

 as before, if a prisoner broke the line by lifting his head off the back of the person in

 front of him, Defendant Orange Crush Officers reacted with violence.

       53.    Defendant Orange Crush Officers laughed at and taunted the

 prisoners throughout the entire march to and from the gym.

       54.    When they at last returned to their housing wing, the prisoners found

 their cells had been “tossed.” Many of the prisoners found that non-contraband

 items had been taken, including legal documents and property that they had

 legitimately purchased from the commissary at the facility. Although IDOC policies

 require staff to complete “shakedown slips” to document any property taken from a

 prisoner, many prisoners did not receive any shakedown slips at all. Those

 prisoners who did receive “shakedown slips” found that they contained an

 inaccurate account of what had been taken and also that the slips obscured the

 officers’ names who had confiscated the property. Upon information and belief, this

 was done intentionally, as policy, to conceal the identity of Defendant Orange Crush

 Officers who had participated in the shakedown.

       55.    One of the prisoners asked an officer to get the warden, Defendant

 Greg Gossett. In response, the officer laughed and told him that the warden

 already knew all about what was happening at the facility.



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         56.   The prisoners suffered physical injuries as a result of the shakedown

 at the facility, including severe headaches, dizziness, lightheadedness, blurred

 vision, and severe pain in their neck and back from the march. Many prisoners

 complained about these injuries to the officers during the shakedown and march,

 and upon return to their cells. They were all denied medical attention. Officers

 instead told them to “submit a grievance like you inmates always do.”

         57.   This was neither the first nor the last such shakedown conducted by

 IDOC officials. In early April 2014, Defendant Orange Crush Officers executed the

 same shakedown at Menard. In mid-May 2014, they carried out the same

 shakedown at Big Muddy River. In July 2014, they targeted Lawrence. At each of

 these facilities, Defendant Orange Crush Officers conducted the same humiliating

 strip search in front of female members of the Orange Crush team. At each of these

 facilities, they forced prisoners to march out of their housing units in a “Nuts to

 Butts” procession. Every time any prisoner in these facilities failed to comply with

 Defendant Orange Crush Officers’ unreasonable demands, Defendants reacted with

 violence. Throughout all of the shakedowns, Defendant Orange Crush Officers

 taunted, yelled at, and violently attacked prisoners solely to harass and humiliate

 them.

         58.   On information and belief, Defendant Orange Crush Officers executed

 their unconstitutional and cruel shakedown procedures at Illinois River, Big Muddy

 River, Lawrence, and Menard in 2014 pursuant to a policy or practice implemented,




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 overseen, and encouraged by IDOC supervisors, including Defendants Yurkovich,

 Gossett, Roeckeman, Duncan, and Butler, among others.

       59.    On April 2, 2014, Defendant Butler sent an email to Defendant Gaetz

 about the shakedown and searches that had occurred at Menard. On May 14, 2014,

 a staff member from the Uptown People’s Law Center wrote to Defendant Godinez,

 describing the abusive and humiliating shakedowns that were occurring in

 Southern Illinois. Despite this notice, neither Defendant Gaetz nor Defendant

 Godinez took any action to prevent the subsequent unconstitutional shakedowns

 from occurring.

       60.    To this day, IDOC prisoners—including prisoners housed at Illinois

 River, Big Muddy River, Lawrence, and Menard—continue to be subjected to

 shakedown procedures like the ones described in this Complaint. Despite several

 prisoners’ repeated requests for the abuse by Defendants to stop, Defendants

 continue to maintain and encourage the above-described policy or practice.

                                  Class Allegations

       61.    Named Plaintiffs Demetrius Ross, Jonathan Tolliver, Kevin Hamilton,

 Glen Verser, Zachary Watts, James Dunmore, and Ronald Smith seek to pursue

 claims both for themselves individually and for a class of others similarly situated

 (the Class) pursuant to Rule 23(b)(2) and 23(b)(3) of the Federal Rules of Civil

 Procedure.

       62.    Named Plaintiffs Demetrius Ross, Jonathan Tolliver, Kevin Hamilton,

 Glen Verser, Zachary Watts, James Dunmore, and Ronald Smith seek to represent



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 a class consisting of the following people: All individuals housed at Illinois River,

 Big Muddy River, Lawrence, and Menard who were subjected to the 2014

 shakedowns, and all prisoners confined to those facilities presently or who may be

 so confined in the future.

       63.    The individuals in this class are so numerous that joinder of all

 members is impractical. According to the IDOC’s website, on July 1, 2014, there

 were 2,073 men housed at Illinois River, 1,878 men housed at Big Muddy River,

 2,367 men housed at Lawrence, and 3,757 men housed at Menard.

       64.    There are questions of law and fact common to the claims of the Class.

 Among these common questions are:

              a.     Whether the strip search as conducted as Illinois River violated

 prisoners’ rights under the Eighth Amendment;

              b.     Whether Defendants violated the constitutional rights of the

 prisoners by forcing them to march with their heads on the backs or buttocks of the

 prisoners ahead of them in line so that one man’s genitals were in direct contact

 with the next man’s buttocks;

              c.     Whether Defendants violated the constitutional rights of the

 prisoners by violently forcing their heads into the backs of the prisoners ahead of

 them in line; and

              d.     Whether forcing prisoners to stand in stress positions for several

 hours constituted cruel and unusual punishment.




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       65.    Plaintiffs’ claims are typical of the claims of the Class. Mr. Ross was a

 prisoner at Illinois River, Mr. Tolliver and Mr. Smith were prisoners at Menard, Mr.

 Hamilton and Mr. Watts were prisoners at Big Muddy, and Mr. Verser and Mr.

 Dunmore were prisoners at Lawrence. All were subjected to the abusive and

 inhumane shakedown executed by Defendant Orange Crush Officers. Their

 treatment during the shakedown in late April 2014 is typical of other prisoners

 throughout Illinois River, and at the other facilities where the Orange Crush team

 conducted these abusive shakedowns. They seek to prove that the tactics employed

 by Defendants in conducting the shakedown violated the constitutional rights of the

 Class, and to obtain an injunction prohibiting Defendants from inflicting that abuse

 during future searches.

       66.    Demetrius Ross, Jonathan Tolliver, Kevin Hamilton, Glen Verser,

 Zachary Watts, James Dunmore, and Ronald Smith will fairly and adequately

 represent the interests of the Class. They have retained skilled counsel with

 experience in class actions, and constitutional and prisoners’ rights litigation.

       67.    The questions of law and fact common to the Class predominate over

 any individual issues. In addition, a class action would be the fairest and most

 efficient way to adjudicate the Class members’ claims.

                                    COUNT I
    42 U.S.C. § 1983 – Cruel & Unusual Punishment (Eighth Amendment)

       68.    Plaintiffs incorporate each paragraph of this Complaint as if fully

 restated here.




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       69.    As described more fully above, Defendants inflicted unnecessary

 physical and emotional pain and suffering on Plaintiffs and other prisoners

 similarly situated to him. They did so intentionally, wantonly, and/or with malice.

       70.    Alternatively, Defendants knew the risk of harm that their misconduct

 posed to those prisoners and nevertheless acted with deliberate indifference in

 executing the shakedowns at Illinois River, Big Muddy River, Lawrence, and

 Menard.

       71.    As a result of Defendants’ unjustified and unconstitutional conduct,

 Plaintiffs and other prisoners similarly situated to him suffered pain, emotional

 distress, and injuries.

       72.    The misconduct described in this Count was undertaken intentionally,

 with malice, and/or with reckless indifference to the rights of Plaintiffs and other

 prisoners similarly situated to them.

       73.    The injuries of Plaintiffs and other prisoners similarly situated to them

 were proximately caused by the policies and practices of the IDOC Defendants.

       74.    On information and belief, Defendant Orange Crush Officers executed

 their unconstitutional and cruel shakedown at Illinois River pursuant to a policy or

 practice implemented and overseen by Defendant Yurkovich and other IDOC

 supervisors regarding shakedowns at IDOC facilities. Accordingly, Defendant

 Yurkovich, who was responsible for supervision and oversight of the Orange Crush

 team, directly encouraged the very type of misconduct at issue in this case, failed to

 provide adequate training and supervision of Defendant Orange Crush Officers, and



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 failed to adequately punish and discipline prior instances of similar misconduct. In

 this way, Defendant Yurkovich violated the rights of Plaintiffs, and other prisoners

 housed at Illinois River, Big Muddy River, Lawrence, and Menard by maintaining

 and implementing policies and practices that were the moving force driving the

 foregoing constitutional violations.

       75.    On information and belief, Defendants Greg Gossett, Zach Roeckeman,

 Stephen Duncan, Kim Butler, and Joseph Yurkovich had notice of widespread

 policies and practices of Defendant Orange Crush Officers and other members of the

 Orange Crush team, pursuant to which prisoners were subjected to unconstitutional

 and tortious acts of violence and humiliation, as described more fully above.

 Despite knowledge of these problematic policies and practices, Defendants Gossett,

 Roeckeman, Duncan, Butler, and Yurkovich did nothing to ensure that the

 prisoners at their facilities were treated humanely and in accordance with the

 rights afforded to them by the United States Constitution. These widespread

 policies and practices were allowed to flourish because Defendants Gossett,

 Roeckeman, Duncan, Butler, and Yurkovich directly encouraged the very type of

 misconduct at issue in this case, and failed to provide adequate training and

 supervision of Orange Crush team members. In this way, Defendants Gossett,

 Roeckeman, Duncan, Butler, and Yurkovich violated the rights of Plaintiffs, and

 other prisoners similarly situated to them, by maintaining and implementing

 policies and practices that were the moving force driving the foregoing

 constitutional violations.



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       76.    The above-described policies and practices were able to exist and thrive

 because Defendants Gossett, Roeckeman, Duncan, Butler, and Yurkovich were

 deliberately indifferent to the problem, thereby effectively ratifying it.

       77.    The injuries of Plaintiffs and those similarly situated to them were

 caused by employees of the IDOC, including but not limited to the individually

 named Defendants, who acted pursuant to the foregoing policies and practices in

 engaging in the misconduct described in this Count.

       78.    Defendants continue to this day to perform shakedowns at IDOC

 facilities, including Illinois River, Big Muddy River, Lawrence, and Menard, using

 the unconstitutional and cruel methods described more fully above. Accordingly,

 Plaintiffs, on behalf of themselves and all others similarly situated to him, seek

 injunctive relief from this Court to stop the continuing constitutional violation.

       79.    Plaintiffs, on behalf of themselves and all similarly situated prisoners,

 also seek actual and punitive damages.

                                      COUNT II
                            42 U.S.C. § 1983 – Conspiracy

       80.    Plaintiffs incorporate each paragraph of this Complaint as if fully

 restated here.

       81.    Defendants reached an agreement among themselves to deprive the

 prisoners housed at Illinois River, Big Muddy River, Lawrence, and Menard

 (including Plaintiffs) of their constitutional rights and to protect one another from

 liability for depriving the prisoners of their rights, all as described in the various

 paragraphs of this Complaint.


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       82.    In furtherance of the conspiracy, each of the co-conspirators committed

 overt acts and was an otherwise willful participant in joint activity.

       83.    The misconduct described in this Count was undertaken intentionally,

 with malice, and/or with reckless indifference to the rights of Plaintiffs and other

 prisoners similarly situated to them.

       84.    As a direct and proximate result of the illicit prior agreement

 referenced above, the rights of the prisoners at Illinois River, Big Muddy River,

 Lawrence, and Menard (including Plaintiffs) were violated and they suffered

 injuries, including pain, suffering, and emotional distress.

       85.    These injuries were caused by employees of the IDOC, including but

 not limited to the individually named Defendants, who acted pursuant to the

 policies and practices described above.

       86.    Defendants continue to this day to conspire to deprive Plaintiffs, and

 other prisoners similarly situated to them, of their constitutional rights and to

 protect one another from liability for the deprivation of those rights, all as described

 in the various paragraphs of this Complaint. Accordingly, Plaintiffs, on behalf of

 themselves and all others similarly situated to them, seek injunctive relief from this

 Court to stop the continuing constitutional violation.

       87.    Plaintiffs, on behalf of themselves and all similarly situated prisoners,

 also seek actual and punitive damages.




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                                    COUNT III
          42 U.S.C. § 1983 – Failure to Intervene (Eighth Amendment)

       88.    Plaintiffs incorporate each paragraph of this Complaint as if fully

 restated here.

       89.    As described more fully above, Defendants each had a reasonable

 opportunity to prevent the violation of the constitutional rights of the prisoners

 housed at Illinois River, Big Muddy River, Lawrence, and Menard (including

 Plaintiffs) as set forth above had they been so inclined. They failed to do so.

       90.    Defendants’ actions were undertaken intentionally, with malice, and/or

 with reckless indifference to the rights of the prisoners housed at these facilities.

       91.    As a direct and proximate result of Defendants’ misconduct, the rights

 of Plaintiffs, and other prisoners similarly situated to them, were violated and they

 suffered injuries, including pain, suffering, and emotional distress.

       92.    Plaintiffs’ injuries, and the injuries of those prisoners similarly

 situated to them, were caused by employees of the IDOC, including but not limited

 to the individually named Defendants, who acted pursuant to the policies and

 practices described more fully above.

       93.    Plaintiffs, on behalf of themselves and all similarly situated prisoners,

 seeks actual and punitive damages for Defendants’ violation of the constitutional

 rights of the prisoners at Illinois River, Big Muddy River, Lawrence, and Menard.




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                                       COUNT IV
                   42 U.S.C. § 1983 – Prison Rape Elimination Act1

        94.     Plaintiffs incorporates each paragraph of this Complaint as if fully

 restated here.

        95.     By executing and encouraging the shakedowns described more fully

 above, Defendants have violated and continue to violate several provisions of the

 Prison Rape Elimination Act National Standards, 28 C.F.R. § 115, promulgated by

 the United States Attorney General pursuant to the Prison Rape Elimination Act,

 42 U.S.C. § 15607.

        96.     Defendants have conducted and continue to conduct cross-gender strip

 searches of Plaintiffs and all similarly situated prisoners, in violation of 28 C.F.R.

 § 115.15. There are no exigent circumstances present during these shakedowns to

 justify cross-gender strip searches.

        97.     Despite several prisoners’ repeated reports of the sexual abuse and

 harassment that they have suffered and continue to suffer, Defendant Baldwin

 refuses to conduct any administrative or criminal investigation into the misconduct

 committed by Defendant Orange Crush Officers, in violation of 28 C.F.R. §§ 115.22

 and 115.71.

        98.     On information and belief, Defendant Baldwin has failed and

 continues to fail to provide adequate training to Defendants and other IDOC staff



 1
    Pursuant to Rule 11(b)(2), counsel recognizes that the Court previously dismissed this count in
 its order of January 28, 2016 (Dkt. No. 76). Counsel believes that there is a non-frivolous
 argument for reversing the Court’s ruling, and therefore repleads this count to preserve it for a
 possible future appeal.
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 on any IDOC policy prohibiting sexual abuse and sexual harassment, in violation of

 28 C.F.R. § 115.31.

       99.    Defendant Baldwin refuses to provide a proper channel for prisoners to

 report the sexual abuse and harassment that they suffer to any public or private

 entity not part of the IDOC, in violation of 28 C.F.R. § 115.51. He similarly refuses

 to provide a proper channel for prisoners to report that sexual abuse and

 harassment privately within the IDOC.

       100.   Instead, when prisoners like Plaintiffs complain about the sexual

 abuse and harassment that they are suffering, their complaints are referred to the

 same Defendants who perpetrated the abuse and harassment, in violation of 28

 C.F.R. § 115.52.

       101.   On information and belief, none of the Defendants has been disciplined

 for the sexual abuse and harassment that they perpetrated on Plaintiffs and other

 prisoners subjected to the same sexual abuse and harassment, in violation of 28

 C.F.R. § 115.76.

       102.   Plaintiffs and other prisoners similarly situated to them have been

 denied access to medical care, in violation of 28 C.F.R. § 115.82.

       103.    In sum, Defendant Baldwin has grossly failed to protect prisoners like

 Plaintiffs from the sexual abuse and harassment that they have suffered and

 continue to suffer at the hands of the Orange Crush team. This abuse is precisely

 the same type of misconduct that the Prison Rape Elimination Act sought to

 eliminate. Accordingly, Plaintiffs, on behalf of themselves and all others similarly



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 situated to him, seek injunctive relief from this Court to require Defendants to

 comply with the Prison Rape Elimination Act National Standards.

                                     COUNT V
                   Intentional Infliction of Emotional Distress

       104.   Plaintiffs incorporate each paragraph of this Complaint as if fully

 restated here.

       105.   In the manner described more fully above, Defendants engaged in

 extreme and outrageous conduct. Those actions were rooted in an abuse of power or

 authority.

       106.   Defendants’ actions as set forth above were undertaken with intent or

 knowledge that there was a high probability that the conduct would inflict severe

 emotional distress and with reckless disregard of that probability.

       107.   Defendants’ actions as set forth above were undertaken intentionally,

 with malice, and/or with reckless indifference to the rights of the prisoners housed

 at Illinois River, Big Muddy River, Lawrence, and Menard.

       108.   The misconduct described in this Count was undertaken by

 Defendants within the scope of their employment.

       109.   As a direct and proximate result of this misconduct, Plaintiffs, and

 other prisoners similarly situated to them, experienced injuries, severe emotional

 distress, and suffering.

       Wherefore, Plaintiffs, Demetrius Ross, Jonathan Tolliver, Kevin Hamilton,

 Glen Verser, Zachary Watts, James Dunmore, and Ronald Smith, on behalf of

 themselves and all others similarly situated, respectfully request that this Court


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 enter a judgment in his favor and against Defendants Robert Adams, Rachelle

 Aiken, Steve Albrecht, Richard Allen, Ashley Alvey, Jeremy Alwerdt, Nathan

 Anderson, Pat Anderson, Khorey Anderton, Brendan Ankrom, Charles Antry,

 Robert Arnett, Sarah Arnett, Michael Atchison, Bradley Ausbrook, Mike Austin,

 Brian Bailey, Bryan Bailey, Gene Bailey, Ryan Bailey, Shawn Bailliez (aka Balliez),

 Chris Barber, Mike Baughman, Stephen Bayer, Dustin Bayler, Derek Baylon,

 Randy Baylor, Stephanie Beasley, Chad Belcher, James Berry, Nathan Berry, Paul

 Blacwell (aka Blackwell), Robert Blackwell, David Bogart, Jimmy Bonner, Andrew

 (“Andy”) Bottrell, Tim Bowen, Mark Bower, Mike Bowers, Larry Boyd, Stephen

 Boyle, Hubert Brace, Christopher Brant, Scott Britton, David Brock, Kyle Brooks,

 Bud Brown, Douglas Brown, Kenny (“Kenneth”) Brown, David Browning, Chris

 Brubaker, James Bruce, Dennis Bucco, Zachariah Buchanan, Zachary Buchenau,

 Jeff Bundren, John Burrow, Jon Burrow, Jonah Butler, Kim Butler, Christopher

 Cales, Aaron Campbell, Matt Cannon, Janet Carle, Chase Caron, Bill Carroll,

 Fredrick (“Fred”) Carter, Jarrod Carter, Kevin Cartwright, Derrick Caudle, Mike

 Chekevida, John Chenault Jr., Tod Childers, Trevor Chitwood, James Cissell,

 Bradley Clark, Mike Clark, Ethan Clary, Vincent Cogdal, Charles Compton, Nick

 Conklin, Steven Conrad, Timothy Conrad, Adrian Corley, DaWayne Cotton, Nathan

 Courtright, Angela Craddock, Joe Curry, Josh Curry, Jason Dams, Benny (“Benn”)

 Davis, Randy Davis, Ryan Davis, Troy Davis, Elliot Daymon, Michael Dean, Matt

 Dees (aka Dess), Rene DeGroof, Drew Derenzy, Rod Dial, Dwight Dilg, Micah

 Dillon, Samuel Dillon, Justin Dircks, Vince Diveley, Samuel Dixon, Kyle Donjon,



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 Robert Dorethy (aka Dorety), Wes Dothager, Terry Douglas, Brian Dowdy, Jerry

 Dronenberg, Brad Duckworth, Ryan Dumstroff (aka Dumstorff), Stephen Duncan,

 Mica Dunn, Mike Dunning, Dwayne Durham, Daniel Dust, Bryan Easton, Scott

 Ebers, Justin Eckelberry, Olin Eldridge, Lisa Ellinger, Blake Elliot, Justin

 Engelage, Wesley Engelage, David English, Frank Eovaldi, Steven Estes, Tim

 Feurer, Keneth (“Kenneth”) Finney, Paul Fletcher, M. Fluder, Chris Forbes, Joseph

 France, Anton Frazier, Charles Fricke, Wes Fuchs, Cory Fuqua, Jason Furlow,

 Andrew Gangloff, Douglas Gellner, Pete Geppert, Michael Gilreath, Jason Ginder,

 Edwin Gladney, Maury Goble, James Gosnell, James Gosnell, James Gray, John

 Green, Greg Gossett, Shane Gregson, Brian Guetersloh, Charles Hahn, Akeem

 Hamilton, Justin Hammers, Jared Hankinds, Mark Hanks, Dustin Harmon, Jerry

 Harper, Noble Harrington, Jacob Harris, Jake Harris, Kendall Harris, Richard

 Harris, Benjamin Haynes, Tracy Heiman, Ayla (“Alya”) Heinzmann, Mark

 Heinzmann, Larry Henderson, Joel Hepp, David Hermetz, Bradley Herzog, Dustin

 Hewitt, Kelly Higgins, Jeff Hill, Kevin Hirch, David Holder, Tyler Holland, Bill

 Hopkins, Seth Hough, Shayne Howell, William Hughey, Kyle Hughhey, Brandon

 Hunter, Joseph Jackson, M.H. Jansen, Matthew H. Jansen, Curtis Jenkins, Marcus

 Jenkins, Jason Jester, Loretta Joachim, Brad Johnson, James Johnson, Justin

 Johnson, Kevin W. Johnson, Matt Johnson, Anthony Jones, John Jones, Michael

 Jones, Tyler Jones, Chris Kamp, Robert Kamp, Josh Kapper, Brian Kauling, Josh

 Keener, Clarence Kellerman, Shannon Kelly, Jeffrey Kidd, Walter Kling, John

 Koch, Eric Kohl, Dan Korte, Daniel Korte, Ryan Kram, Erik Krammer, Greg



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 Krause, Preston Krausharr, Steven Kretschumer, Brian Kulich, Scott Lamb,

 Michael (“Mike”) Laminack, Nicholas Lampley, Jason Lane, Chris Leipold, Ben

 Lewis, Jacob Liles, Doug Line, Romelle Lipscomb, Brian Livingston, Brandon Lloyd,

 James Lloyd, Alexander Lockhart, Leslie Lockwood, Amanda Lohman, Randy

 Lohman, Nick Lohnes, Chris Luker, Todd Manker, Meredith Manning, John

 Maragni, Dale Martin, Doug Mason, Kyle Massey, Allison Mathis, Andrew Mays,

 Anthony McAllister, Timothy (“Timmy”) McAllister, Jeremy McBride, Ray McCann,

 Jason McCarty, Jullian McCarty, Ryan McClellan, Walter McCormick, Brad

 McCuan, Josh McDonald, Carl McFarland, Jay McMillan, Travis McReynolds,

 Lucas Mennerich, Josh Mensing, Jason Migneron, Jacob Milam, Justin Miller,

 Kevin Miller, John Mohr, Alex Moll, Dale Monical, Wesley Monroe, David Moore,

 Richard Moore, Zach Moore, Canduce Morrill, Jason Morris, Andrew (“Andy”)

 Moser, Dan Moyers, Dan Mullin, Dan Mullin, Nathan Musgrave, Barry Myers,

 William (“Bill”) Myers, Nick Nalley, Myron Neisler, Matt Newbury, Rich Nidey,

 Travis Ochs, Zach Oglesby, Lareese Olinger, Lee Parker, Wendy Parks, Robert

 Passmore, Jeremiah Patterson, Zach Payne, Sam Peradotta, Gary Perkins, Scott

 Petijean, Andy Phelps, Jared Phillips, Brian Piper, Matt Plummer, Jon Pochie,

 Gerhard Poettker, Kenny Porter, Bryan Posey, Larry Provence, Donald (“Don”)

 Pulliam, Jacob Pyle, Trent Ralston, Rory Renk, John Restoff, Kris Reynolds, Steven

 Richard, Brandon Richey, James Rigdon, Robert Rivett, Abby Roberts, Jason

 Robinson, Kent Robinson, Zach Roeckeman, Jeff Roelandt, Jesse Rosenberger,

 Trevor Rowland, James Russell, Chris Sanders, Chad Sappington, Zach Sarver,



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 Marcus Sawyer, Stephen Sawyer, Steven Sawyer, Ashley Schafer, Anthony Scoles,

 Minh Scott, Thomas Scott, Ashley Sears, Jared Selby, Anthony Senn, Bruce Settles,

 Chris Sexton, Todd Sexton, Todd Shefler (aka Sheffler), Samuel Shehorn, Samuel

 Shehorn, Eric Shelton, Ronnie Sherrock, Chris Sherrod, Wes Shirley, Ron Shoultz,

 Tyson Shurtz, Clint Sigrist, Mitch Simmons, Bruce Sisney, Jamie Skaggs, Derek

 Smith, Johnnie Smith, Kenneth Smith, Randy Smith, Robert Smith, Shane Smith,

 Tom Smith, Quinton Smothers, Scott Snider, Nicholas Sroka, Jonathon Staley,

 Mike Stanart, Gary Stark, Nick Steele, Cally (“Callie”) Stein, Jesse Stephens,

 James Baldwin, Andy Stout, Steve Strickell, Brad Stuck, Mike Stufflebeam, Roger

 Sullivan, T.J. Swarts, Mike Swetland, Jerry Tanner, Sierra Tate, Sam Taylor,

 David Teske, MaryEllen Thomason, Ashley Thompson, Frank Thompson, Tammy

 Thousand, Martin Tovar, Matthew Tribble, Steven Tutoky, Nick Ulery, Dennis

 Urhig, Ben (“Benjamin”) Vaughn, Andrew Volk, John Vroman, Cayd Walljasper,

 Robert Walsh, Eric Wangler, Eric Ward, Nathan Ward, Luke Waters, Rene Waters,

 James Watkins, Eric Weber, Eric Wenzel, Caleb Wesley, Aaron Westerman, Chris

 White, John Whitlow, Tony Whitten, Steve Wilcoxen, Trevor Wilkinson, Fred

 Williams, Dallas Willis, Brice Wilson, Tim Winans, Matthew Winka, Troy Winker,

 Troy Winkler, Carson Winter (aka Winters), Lance Wise, Jerry Witthoft, Cody

 Wittinghill, Jon Wolfe, Tim Worker, Scott Workman, Brad Yonaka, Dustin York,

 Joseph Yurkovich, Caleb Zang, Ryan Ziegler, William Zimmerman, Jason Zollars,

 Jason Zurliene, S.A. Godinez, Donald Gaetz, William Rees, David Childers, James

 Best, Robert Hughes, George Holton, Terry Clements, Kent Brookman, John



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 Tourville, Richard Moore, Brian Thomas, Douglas Lyerla, Jay Ziegler, Kevin

 Reichert, Chad Hasemeyer, Kevin Page, Beau Purtle, Patrick Trokey, Jeffrey

 Marnati, Raymond Allen, James Powell, Bill Westfall, John Mich, Roger Waller,

 John Hoffman, Raymond Groves, David Evelsizer, Sean Smolak, Michael Samuel,

 George Welborn, Christopher Bradley, Tony Payne, Jr., Michael Monje, Tracy Lee,

 John Carter, Alexander Jones, Richard Harrington, Daniel Monti, Louis Browder,

 Ventures Jackson, Denise Minor, Jacob Null, Daniel Sullivan, Jack Townely,

 Harold Schuler, Jeffrey Julius, Richard Lynch, Michael Grisham, Michael Durbin,

 Dennis Followell, Danny Britton, George Davis, Kevin Chamness, Charles Hayden,

 James Studer, Robin Cherim, Scott Partee, Robert Craig, Eric Plott, Bret Robison,

 John Burle, Ron Beebe, Bruce Fisher, Bruce Hagaman, Bruce Sanders, Dale

 Massey, Eric Welsh, Gordon Belless, Lonn Howarter, Mike Keithley, Trent

 Birchfield, Rick Yocum, Kerrye Annable, Christopher Quigley, Marc Coufal, Paul

 Chapin, Stephanie Dorethy, Thomas Stuck, Chad Jennings, Gregory Sorensen,

 Chris Pitts, Russell Goins, Lisa Harris, Ryan Erickson, Randall Bayler, Leif

 McCarthy, Chad Ray, Arnold Steber, Donald Harris, James Whelan, Earl Dixon,

 Alan Dallas, Martin Buchner, Robert Boldrey, Lisa Tarr, Matt Freeman, James

 Ochs, Richard Moore, Rodney Brady, David White, Unknown Members of Tactical

 Team Known as “Orange Crush,” and Unknown Supervisors, awarding

 compensatory damages, punitive damages, injunctive relief, attorneys’ fees and

 costs, and any other relief this Court deems just and appropriate.




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                                       JURY DEMAND

       Plaintiffs Demetrius Ross, Jonathan Tolliver, Kevin Hamilton, Glen Verser,

 Zachary Watts, James Dunmore, and Ronald Smith, on behalf of themselves and

 other prisoners similarly situated to him, hereby demands a trial by jury pursuant

 to Rule 38(b) of the Federal Rules of Civil Procedure on all issues so triable.


 Dated: October 31, 2016




                                         Respectfully submitted,


                                         /s/ Sarah Grady
                                         Sarah Grady
                                         Attorney for Plaintiffs




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 Jon Loevy
 Ruth Brown
 Sarah Grady
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 Nicole Schult
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 (773) 769-1410




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